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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES = Mag- NO- /3 / C/Z-Z//Vf/;LSH)

V. : HOn.
COURTNEY JOHNSON & \ : SEALING ORDER
CAROL JOHNSON
This matter having been brought before the Court upon
application of Paul J. Fishman, the United States Attorney for
the District of New Jersey (Lorraine S. Gerson, ASSiStant United
States Attorney, appearing), for an order Sealing the arrest

warrant, the Indictment, and all related documents, and for good

cause Shown, /§`*
IT IS en this /7 day of %ML 2013,

ORDERED that the arrest warrant, Indictment, and all
related documents, except for copies of the warrant to be Served
at the arrest, be and hereby are Sealed until further Order of

this Court or the arrest of the defendant, Whichever first

%/M

HoN .(/ 197//\./ L- W/?*Lw/v
United States Magistrate Judge

OCC`LlI`S .

 

